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7
8                           IN THE UNITED STATES DISTRICT COURT
9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) No. Cr. 06-0058 JAM
                                     )
12                  Plaintiff,       )            ORDER
                                     )
13        v.                         )
                                     )
14   JAGPRIT SINGH SEKHON et al.,    )
                                     ) Judge:    Honorable John A. Mendez
15                  Defendants.      )
                                     )
16   _______________________________ )
17        Pursuant to the unopposed request of Defendant Iosif Caza, and
18   good cause appearing therefor, the reply to the reply to the opposition
19   to the motion for bail pending appeal may be filed on or before July
20   25, 2013.
21   Dated:     July 23, 2013
22                                        /s/ John A. Mendez
                                          HONORABLE JOHN A. MENDEZ
23                                        United States District Court Judge
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